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 1   Sean O. Anderson
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 8                                   UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                       Case No. 6:20-mj-00011-HBK
12                      Plaintiff,
13           v.                                       MOTION TO DISMISS; AND
                                                      ORDER THEREON
14    JOSHUA DUNWORTH,
15                      Defendant.
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18          The parties having entered into a Deferred Prosecution Agreement, the United States

19   hereby moves the Court for an order of dismissal without prejudice pursuant to Rule 48 of the

20   Federal Rules of Criminal Procedure, and by leave of the Court endorsed hereon.

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22                                                        Respectfully submitted,

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24          Dated: December 9, 2020                       /S/ Sean O. Anderson_________
                                                          Sean O. Anderson
25                                                        Acting Legal Officer
26                                                        Yosemite National Park

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                                                      1                    United States v. Julianna WHITE
         Case 6:20-mj-00011-JDP Document 7 Filed 12/10/20 Page 2 of 2


 1                                                ORDER
 2

 3            Upon motion of the United States brought under Fed. R. Crim. Pro. 48, the matter of
     United States v. Dunworth, case no. 6:20-mj-00011-HBK, is hereby dismissed without prejudice,
 4
     in the interest of justice.
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 6   IT IS SO ORDERED.
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 8   Dated:      December 9, 2020
                                                       HELENA M. BARCH-KUCHTA
 9                                                     UNITED STATES MAGISTRATE JUDGE
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                                                       2                   United States v. Julianna WHITE
